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LGBcoin is a meme coin on the Ethereum ERC20 digital collectible blockchain that allows owners
to digitally express support for America. Do not spend any money on LGBcoin that you cannot
afford to lose.
